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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

W.R. Grace & Co., et al., Case No. 01-01139 (JKF)

(Jointly Administered)

Nowe? Nee! Nome Nee’ Nee Nee”

Debtors.

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the ZAI Claimants’ Motion for Summary Judgment

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Dated: July 7, 2003
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